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 January 15, 2025



 VIA ECF

 The Honorable Nina R. Morrison
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:       Shrikant Barot v. St. John’s University
           Case No. 1:22-cv-04823-NRM-LKE

 Dear Judge Morrison:

 We represent Defendant in the above referenced matter. Pursuant to Your Honor’s January 13,
 2025 order, we write jointly with Plaintiff’s counsel to propose the below briefing schedule for
 Defendant’s anticipated motion for summary judgment.

  SJM Brief        February 28
  Opposition       April 11
  Reply            May 9


 Respectfully submitted,

 /s/ Ivie A. Serioux

 Ivie A. Serioux

 cc: All Counsel of Record (via ECF)




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